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   UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON
                               AT TACOMA



JUNE ELIZABETH BROGDON,                          JUDGMENT IN A CIVIL CASE

                     Plaintiffs,                 CASE NO. 3:19-cv-05332-BHS
      v.

STATE OF WASHINGTON CHILDREN’S
ADMINISTRATION, et al.,

                     Defendants.



   Jury Verdict. This action came before the Court for a trial by jury. The issues have been
   tried and the jury has rendered its verdict.

   Decision by Court. This action came to consideration before the Court. The issues have
   been considered and a decision has been rendered.

   The Court does hereby find and ORDER as follows:

      Brogdon’s complaint is dismissed for failure to state a claim and without leave to
      amend.

   Dated this 13th day of June, 2019.

                                          William M. McCool
                                          Clerk

                                          s/Gayle M. Riekena
                                          Deputy Clerk
